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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )                    Case No: 8:08CR439
                  Plaintiff,                     )
           v.                                    )                          ORDER
                                                 )
JOSEPH T. JORDAN,                                )
                                                 )
                  Defendant.


       I find that the above-named defendant is eligible for appointment of counsel pursuant
     to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan
     for the District of Nebraska.

      IT IS ORDERED that Beau G. Finley is appointed as attorney of record for the above-
     named defendant in this matter and shall forthwith file an appearance in this matter.

      IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall forthwith
     provide counsel with a draft appointment order (CJA Form 20) bearing the name and
     other identifying information of the CJA Panel attorney identified in accordance with the
     Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that counsel’s appointment herein is made pursuant to 18
     U.S.C. § 3006A(f). At the time of the entry of judgment herein, defendant shall file a
     current and complete financial statement to aid the court in determining whether any
     portion of counsel’s fees and expenses should be reimbursed by defendant.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
     Federal Public Defender for the District of Nebraska and Beau G. Finley.

      DATED this 5th day of January, 2012.

                                              BY THE COURT:

                                              s/ F. A. Gossett
                                              United States Magistrate Judge
